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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                )
JOHN F. BOWLEN, PERSONAL        )
REPRESENTATIVE OF THE ESTATE OF )
WILLIAM EDWARD BOWLEN,          )
           Plaintiff,           )                             Civil Action No.: 15-CV-11191
                                )
v.                              )
                                )
CARE ONE, LLC, HEALTHBRIDGE     )
MANAGEMENT, LLC, D/B/A          )
WEYMOUTH HEALTH CARE CENTER, )
JANE ROE NURSES AND JOHN DOE    )
PHYSICIANS,                     )
           Defendants.          )

                                     NOTICE OF REMOVAL

To:     Judges of the United States District Court
        for the District of Massachusetts

        Defendant Healthbridge Management, LLC (“Healthbridge”)1 hereby gives notice of its

removal of this action, pursuant to 28 U.S.C. §§ 1332, 1441 & 1446, to the United States District

Court for the District of Massachusetts. As grounds for removal, Healthbridge states as follows:

        1.      On or about January 29, 2015, the plaintiff John F. Bowlen (“Bowlen”) filed a

civil action cover sheet and complaint against Healthbridge in the Superior Court Department of

the Trial Court of the Commonwealth of Massachusetts in and for the County of Norfolk,

captioned John F. Bowlen, Personal Representative of The Estate of William Edward Bowlen v.

Care One LLC, Healthbridge Management, LLC, d/b/a Weymouth Health Care Center, Jane Roe

Nurses and John Doe Physicians, Civil Action No. 15-00145.




1
 Healthbridge Management, LLC is improperly named as Healthbridge Management, LLC d/b/a Weymouth Health
Care Center. Healthbridge Management, LLC does not do business as Weymouth Health Care Center.


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        2.      On or about March 6, 2015, Bowlen served a summons, a scheduling order, and a

copy of his complaint upon Healthbridge Management, LLC pursuant to the Massachusetts Long

Arm Statute, G.L. c. 223A, § 6.

        3.      The aforesaid summons, scheduling order, and complaint, true and accurate

copies of which are attached hereto as Exhibits 1 through 3, respectively, constitute all process,

pleadings, and orders served upon Healthbridge in the aforesaid state court action.

        4.      This Notice of Removal is timely filed, as Healthbridge files same within thirty

(30) days after formal service of the initial pleading setting forth the claims for relief upon which

such action or proceeding is based as required by the provisions of 28 U.S.C. § 1446(b). See

Murphy Brothers, Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 347-48, 119 S. Ct. 1322,

1325 (1999).

        5.      Jurisdiction exists over this removed action, pursuant to 28 U.S.C. § 1441,

because this action could originally have been filed in the United States District Court, pursuant

to 28 U.S.C. § 1332(a)(1), on the basis that there is complete diversity of citizenship between the

parties and the amount in controversy exceeds $75,000:

        a.      Healthbridge is a limited liability company organized under the laws of the State

                of New Jersey with a principal place of business in the State of New Jersey.

        b.      Care One, LLC is a limited liability company organized under the laws of the

                State of Delaware with a principal place of business in the State of New Jersey.

        b.      Based on the Complaint, Bowlen is an individual residing in Quincy, Middlesex

                County, in the Commonwealth of Massachusetts. See Exhibit 3.

        c.      Bowlen has not yet submitted a demand for settlement, but has alleged that, as a

                result of Healthbridge’s acts or omissions, he suffered serious injuries, and



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                conscious pain which culminated in his premature death.            See Exhibit 3,

                Complaint.

        d.      Bowlen’s civil action cover sheet, which was filed with his complaint in the

                Superior Court Department of the Trial Court of the Commonwealth of

                Massachusetts in and for the County of Norfolk, states the total damages to be

                $495,000.00. See Exhibit 4, Civil Action Cover Sheet.

        6.      Because complete diversity of citizenship exists between the plaintiff and the

defendant, and as the amount in controversy exceeds the sum of $75,000.00, removal is proper

pursuant to 28 U.S.C. § 1446.

        7.      The Eastern Division of the United States District Court for the District of

Massachusetts is the proper forum for removal pursuant to 28 U.S.C. §§ 101 and 1441(a), as the

civil action is pending in Norfolk County, Massachusetts.

        8.      Healthbridge will promptly provide written notice of the removal of this action

pursuant to 28 U.S.C. § 1446(d) to Bowlen and to the Clerk of the Superior Court Department of

the Trial Court of the Commonwealth of Massachusetts in and for the County of Norfolk.

        9.      Pursuant to Local Rule 81.1(a), Healthbridge shall request of the Clerk of the

Superior Court Department of the Trial Court of the Commonwealth of Massachusetts in and for

the County of Norfolk certified or attested copies of all docket entries therein and shall file same

with this Court within thirty (30) days after filing this Notice of Removal.

        WHEREFORE, Healthbridge requests that the action pending in the Superior Court

Department of the Trial Court of the Commonwealth of Massachusetts in and for the County of

Norfolk be removed therefrom to the United States District Court for the District of

Massachusetts and proceed as an action properly so removed.



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                                       Respectfully submitted,
                                       The Defendant, HEALTHBRIDGE
                                       MANAGEMENT, LLC,
                                       By its attorneys,

                                       MORRISON MAHONEY LLP


                                        /s/ Joseph M. Desmond
                                       Joseph M. Desmond, BBO # 634883
                                       Hilary K. Detmold, BBO # 688880
                                       250 Summer Street
                                       Boston, MA 02210
                                       (617) 439-7500
                                       jdesmond@morrisonmahoney.com
                                       hdetmold@morrisonmahoney.com
Dated: March 25, 2015




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                               CERTIFICATE OF SERVICE

       The undersigned understands that the following counsel of record is not yet registered on
the Court’s CM/ECF database in connection with this matter. As a result, this individual (1) will
not receive from the court electronic notification of the filing of the foregoing Notice of
Removal, filed via ECF on March 25, 2015; (2) will not have immediate access to this document
through the court’s website; and (3) will receive a paper copy of the foregoing from the
undersigned upon filing.

                                    Daniel C. Federico, Esq.
                                   Shaines & McEachern, PA
                                  282 Corporate Drive, Unit 2
                                    Portsmouth, N.H. 03802
                                        (603) 436-3110
                                    dfederico@shaines.com
                                   Attorney for the Plaintiff


Dated: March 25, 2015                        /s/ Joseph M. Desmond
                                            Joseph M. Desmond




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